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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION



 FEDERAL TRADE COMMISSION,

                  Plaintiff,                             Case No.: 4:23-CV-03560-KH

             v.

 U.S. ANESTHESIA PARTNERS, INC., et al.,

                  Defendants.


                             Plaintiff Federal Trade Commission’s
                   Notice of Motion to Dismiss Appeal Filed in Fifth Circuit

       The FTC opposed Defendant U.S. Anesthesia Partners, Inc.’s Motion for Stay Pending

Interlocutory Appeal in part because neither issue presented is appealable under the collateral

order doctrine. See FTC’s Opp. to USAP’s Mot. for Stay Pending Interlocutory Appeal 1-8, ECF

No. 159. Consistent with that position, the FTC filed a motion in the Fifth Circuit seeking to

dismiss USAP’s appeal for lack of appellate jurisdiction. The motion is attached as Exhibit A.

We remain available should the Court have any questions.


Dated: July 22, 2024                                 Respectfully submitted,

                                                     /s/ Timothy Kamal-Grayson
                                                     Timothy Kamal-Grayson (Pro Hac Vice)
                                                     600 Pennsylvania Avenue, N.W.
                                                     Washington, D.C. 20580
                                                     Tel: (202) 326-3369
                                                     Email: tkamalgrayson@ftc.gov

                                                     Counsel for Plaintiff Federal Trade
                                                     Commission




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                                CERTIFICATE OF SERVICE

       I hereby certify that on this day, I caused the Plaintiff Federal Trade Commission’s

Notice of Motion to Dismiss Appeal Filed in Fifth Circuit and accompanying exhibit to be

served on all counsel of record using the ECF system of the United States District Court for the

Southern District of Texas.



Dated: July 22, 2024

                                                    /s/ Timothy Kamal-Grayson
                                                    Timothy Kamal-Grayson




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